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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 REPORTERS COMMITTEE
 FOR FREEDOM OF THE PRESS,
                       Plaintiff,
                                                            Case 1:17-cv-01701-RC
                v.
 FEDERAL BUREAU
 OF INVESTIGATION, et al.,
                       Defendants.


             JOINT MOTION TO ENTER SCHEDULING ORDER


       On April 24, 2018, this Court entered an order directing the parties to submit a proposed

schedule for briefing on the Defendants’ Glomar responses under Exemption 7(E) of the

Freedom of Information Act, 5 U.S.C. § 552. In response to that order, the Reporters Committee

for Freedom of the Press (“Reporters Committee” or “RCFP”) and the Federal Bureau of

Investigation (“FBI”) and United States Department of Justice (“DOJ”) (collectively,

“Defendants”), by and through their undersigned counsel, respectfully jointly submit the

following proposed schedule:

   1. July 2, 2018 for Defendants’ motion for summary judgment;

   2. August 17, 2018 for Plaintiff’s opposition to Defendants’ motion, and any cross-motion

       for summary judgment by Plaintiffs;

   3. September 14, 2018 for Defendants’ reply in support of Defendants’ motion for

       summary judgment and opposition to Plaintiff’s cross-motion if a cross-motion is filed;

       and
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   4. October 5, 2018 for Plaintiff’s reply in support of Plaintiff’s cross-motion if a cross-

       motion is filed.

       Wherefore, the parties respectfully request that the Court enter the attached proposed

scheduling order.

Dated: May 8, 2018


 Respectfully Submitted,                            Respectfully Submitted,
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